                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



JOEL BELLO,                              )
                                         )
                       Petitioner,       )
                                         )
                 v.                      )     1:08CV184
                                         )     1:05CR354-16
UNITED STATES OF AMERICA,                )
                                         )
                       Respondent.       )


                MEMORANDUM OPINION AND RECOMMENDATION
                     OF MAGISTRATE JUDGE ELIASON

     Petitioner Joel Bello, a federal prisoner, has filed a motion

to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

§ 2255.    (Docket No. 448.)1      Petitioner was indicted as one of

twenty-three defendants in a drug conspiracy.           He was charged in

Count One of the indictment with participating in a conspiracy to

distribute more than five kilograms of cocaine hydrochloride and a

substance containing a detectable amount of marijuana in violation

of 21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(A).              (Docket No. 1.)

Petitioner later pled guilty to this charge (Docket Nos. 204, 205)

and was sentenced to 72 months of imprisonment (Docket No. 286).

His judgment was entered on June 28, 2006.

     Petitioner did not pursue a direct appeal.                  However, in

October of 2007, he did file an application to proceed in forma

pauperis and a motion under 18 U.S.C. § 3582 to reduce his sentence

based on extraordinary and compelling circumstances.             (Docket Nos.

427, 428.)    In that motion, he sought to have his sentence reduced


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      This and all further cites to the record are to the criminal case.




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based on health problems and the fact that he faced deportation at

the end of his sentence.         The motion to reduce sentence was denied

in January of 2008.         (Docket No. 437.)        On February 25, 2008,

Petitioner filed a motion under § 2255.            (Docket No. 440.)           This

motion was dismissed without prejudice based on certain defects.

Petitioner then filed the present motion on March 18, 2008.                     The

motion raises claims based mainly on his health conditions and

deportability and his counsel’s alleged failure to raise those

issues at sentencing.          (Docket No. 448.)     Respondent has filed a

motion to have it dismissed for being untimely filed.               (Docket No.

464.)       Petitioner has responded (Docket No. 478) and the motion to

dismiss is now before the Court for a decision.

                                   DISCUSSION

        Respondent requests dismissal on the ground that the motion

was filed2 outside of the one-year limitation period imposed by the

Antiterrorism and Effective Death Penalty Act of 1996, P.L. 104-132

(“AEDPA”). 28 U.S.C. § 2255(f). The AEDPA amendments apply to all

motions filed under § 2255 after their effective date of April 24,

1996. Lindh v. Murphy, 521 U.S. 320 (1997). Interpretations of 28
U.S.C. §§ 2244(d)(1) and 2255 have equal applicability to one

another.       Sandvik v. United States, 177 F.3d 1269, 1271 (11th Cir.

1999).

        Under § 2255(f)(1), the limitation period runs from the date

when the judgment of conviction became final.             Where a petitioner

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        A Section 2255 motion is filed by a prisoner when the motion is delivered
to prison authorities for mailing. Adams v. United States, 173 F.3d 1339, 1341
(11th Cir. 1999).

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files an appeal, finality has been construed to mean when the

petitioner may no longer seek further review because of (1) the

denial of a petition for certiorari to the United States Supreme

Court; or, (2) the expiration of the time for seeking such review.

Clay v. United States, 537 U.S. 522 (2003). Where no direct appeal

is filed, the conviction becomes final when the ten-day notice of

appeal    period   expires.      Id.;     Fed.   R.     App.   P.   4(b).      Here,

Petitioner did not pursue an appeal.              Therefore, his conviction

became final ten days after judgment was entered on June 28, 2006.

Petitioner’s first attempt at filing a § 2255 motion was dated

February    14,    2008.      This   is   well    more     than     a   year   after

Petitioner’s conviction became final.            Petitioner’s motion is out

of time under subsection (f)(1).          Only if another subsection gives

Petitioner more time to file will his motion be timely.

        Section 2255(f)(2) requires an unlawful governmental action

which    prevented    Petitioner     from     filing     his    §   2255    motion.

Petitioner fails to allege or show that any unlawful governmental

action    prevented    him    from   filing      this    motion.        Therefore,

subsection two does not give Petitioner a longer limitation period.

        Section 2255(f)(3) allows the limitation period to run from

the date on which the right asserted was initially recognized by

the Supreme Court, if that right has been newly recognized and made

retroactively applicable to cases on collateral review. Petitioner

does not allege that he is relying upon any such right.                           This

subsection does not apply.




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       Section 2255(f)(4) allows the limitation period to run from

the date on which the facts supporting the claims presented could

have   been    discovered   through     the     exercise     of     due   diligence.

Petitioner’s claims are based on facts that existed and were known

to him at the time of his conviction and sentencing.                      Therefore,

this subsection also does not apply and Petitioner’s motion is

untimely.

       Petitioner does not contest the facts and conclusions set out

above. Instead, he argues that his health conditions prevented him

from filing his motion in a timely fashion. The Fourth Circuit and

a number of other courts have held that the one-year limitation

period is subject to equitable tolling.              Harris v. Hutchinson, 209

F.3d 325 (4th Cir. 2000); Sandvik, 177 F.3d at 1271 (collecting

cases).    Equitable tolling may apply when the petitioner has been

unable    to   assert   claims    because     of    wrongful        conduct   of    the

government or its officers.         A second exception is when there are

extraordinary circumstances, such as when events are beyond the

prisoner’s control and the prisoner has been pursuing his rights

diligently.     Pace v. DiGuglielmo, 544 U.S. 408 (2005); Harris, 209
F.3d 325; Akins v. United States, 204 F.3d 1086 (11th Cir. 2000).

Circumstances beyond a prisoner’s control occur if he has been

prevented in some extraordinary way from exercising his rights.

See Smith v. McGinnis, 208 F.3d 13 (2d Cir. 2000).                        This might

occur where a prisoner is actively misled or otherwise prevented in

some extraordinary way from exercising his rights.                        Coleman v.
Johnson, 184 F.3d 398, 402 (5th Cir. 1999).                  On the other hand,


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unfamiliarity with the legal process, lack of representation, or

illiteracy does not constitute grounds for equitable tolling.

Harris, 209 F.3d 325; Turner v. Johnson, 177 F.3d 390, 392 (5th

Cir. 1999).      Likewise, mistake of counsel does not serve as a

ground for equitable tolling. Taliani v. Chrans, 189 F.3d 597 (7th

Cir. 1999); Sandvik, 177 F.3d at 1272.         Nor are prison conditions,

such as lockdowns or misplacement of legal papers normally grounds

for equitable tolling.        Akins, 204 F.3d 1086.         Waiting years to

raise claims in state court and months to raise them in federal

court shows lack of due diligence.         Pace, 544 U.S. 408.

      Here, Petitioner explains his failure to file a timely motion

by claiming that his health conditions prevented him from filing

earlier.    He also relies on his ignorance of the law.                However,

Petitioner’s health conditions (gout, arthritis, psoriasis, benign

tumor) are chronic and ongoing.         They were present at the time of

his sentencing (Presentence Report ¶ 65), continued during the

months following his judgment, and, according to his response,

continue even now.        Petitioner filed his motion to reduce his

sentence based on extraordinary and compelling circumstances in

October of 2007.3     Since that time he has filed two motions under

§ 2255 with supporting memoranda, as well as other appropriate

documents in pursuit of those motions. His submissions are lengthy

and fairly well-organized.         Petitioner does not explain why he


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       Petitioner could have filed his § 2255 motion at least at that time, but
did not. He still waited more that four months before filing his first § 2255
motion. This does not show the diligence necessary for equitable tolling to
apply.

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could not file anything at all for more than a year following his

sentencing, but has been, for a number of months now, able to file

motions and briefs in a timely fashion.           He has not shown that his

health problems prevented him from filing his § 2255 motion in a

timely fashion or that he was diligent in pursuing that motion.

Likewise, his ignorance of the law cannot excuse his late filing.

Harris and Turner, supra.       Petitioner is not entitled to equitable

tolling, his motion is untimely, and Respondent’s motion to dismiss

should be granted.

     IT   IS    THEREFORE   RECOMMENDED    that    Respondent’s    motion    to

dismiss (Docket No. 464) be GRANTED, that Petitioner’s motion to

vacate,   set    aside,   or   correct   sentence    (Docket    No.   448)   be

DISMISSED, and that Judgment be entered dismissing this action.




                                   ________________________________
                                    United States Magistrate Judge



September 23, 2008




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